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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                        No. CR03-5426 RBL
                              Plaintiff-Appellee,
12                     v.
13                                                       ORDER DENYING
       RICHARD T. BROWN,                                 RE-SENTENCING
14                            Defendant-Appellant.
15
16          This case comes before the Court for consideration of re-sentencing pursuant to the remand of the

17   Ninth Circuit Court of Appeals and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). The Court

18   has reviewed the transcript of the original sentencing as well as the Memorandum Opinion of the Circuit

19   Court in US v. Brown, 04-30405 (2005) and the opinion in United States v. Ameline. In the original

20   sentencing of Richard T. Brown the Court noted the danger to the community posed by Mr. Brown.

21   Despite the passionate argument of counsel, the Court concluded that Mr. Brown had not demonstrated

22   any ability to control his addiction or his related criminal conduct which represented a scourge on the

23   community. For that reason, the Court gave the defendant a high-end sentence of 168 months. This Court

24   would not have sentenced the defendant differently had it known that the Sentencing Guidelines were

25   advisory only. The sentence was reasonable under the factors outlined at 18 U.S.C. § 3553(a). The Court

26   declines to impose any different sentence for Richard T. Brown.

27          IT IS SO ORDERED.

28


     ORDER
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 1          The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of record
 2   and to any party appearing pro se at said party’s last known address.
 3          Dated this 30th day of March, 2006.


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                                           RONALD B. LEIGHTON
 6                                         UNITED STATES DISTRICT JUDGE
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     ORDER
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